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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

IN RE:                                                §                        CASE NO. 20-32064-H5-13
                                                      §
DARWIN ZELAYA                                         §
AMANDA GARCIA                                         §
                                                      §
DEBTOR(S)                                             §                                  CHAPTER 13

           CHAPTER 13 TRUSTEE’S NOTICE OF ADJUSTMENT TO PLAN PAYMENT

    NOTICE IS HEREBY GIVEN, that on March 29, 2023, US Bank Home Mortgage filed a

Notice of Mortgage Payment Change (docket #106).             No party in interest filed a timely motion

seeking review of the proposed adjustment. Therefore, pursuant to Paragraph 8 of the Chapter 13

plan, the Trustee has adjusted the Chapter 13 plan payment as follows:



    Effective with the May 04, 2023 payment, the Chapter 13 plan payment is increased by the
sum of $177.67, for a total payment of $3,106.56, and this increase is effective to all subsequent

plan payments, unless otherwise ordered by the Court.         Failure of the Debtor to comply with this

adjustment shall be grounds for dismissal of this case.




                                                          RESPECTFULLY SUBMITTED,

                                                          /s/ William E. Heitkamp
                                                          William E. Heitkamp, Trustee
                                                          9821 Katy Freeway Suite 590
                                                          Houston, TX 77024
                                                          (713) 722-1200 Telephone
                                                          (713) 722-1211 Facsimile
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                                        CERTIFICATE OF SERVICE

The undersigned does hereby certify that a true and correct copy of the foregoing was sent to
all parties as listed below on April 19, 2023, either electronically or via U.S. First Class Mail.

United States Trustee                 Debtor's Attorney:                     Darwin Zelaya
515 Rusk Avenue                       Sobel, Robert S.                       Amanda Garcia
Suite 3516                            Sobel Law Firm, Pllc                   20523 Freedom River Dr.
Houston, Tx 77002                     19747 Highway 59 N.                    Humble, Tx 77338
                                      Suite 450
                                      Humble, Tx 77338

                                            /s/ William E. Heitkamp
                                          William E. Heitkamp, Trustee
